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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION


UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
                                      )
            v.                        )       No. S2-4:06 CR 33 ERW
                                      )                         DDN
ANNETTE MARIE CANANIA,                )
GERALD ROBINSON,                      )
JULIA FRIEND, and                     )
LEE WESTFALL,                         )
                                      )
                   Defendants.        )

                         REPORT AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE

     This action is before the Court upon the pretrial motions of
defendant Gerald Robinson which were referred to the undersigned United
States Magistrate Judge pursuant to 28 U.S.C. § 636(b).         A hearing was
held on July 14, 2006.
     Defendant Gerald Robinson has moved for severance and a separate
trial, 1 and for severance of Count 9 from the other counts of the
indictment (Doc. 146).
     Federal Rule of Criminal Procedure 14 “allows the trial court to
order severance even if joinder was proper under Rule 8[].” 2            United


     1
      At the hearing held on July 14, 2006, the undersigned was advised
by counsel for the United States that she expected that defendants
Robinson and Canania would go to trial.
     2
         Federal Rule of Criminal Procedure 8 provides:

     (a) Joinder of Offenses. The indictment or information may
     charge a defendant in separate counts with 2 or more offenses
     if the offenses charged--whether felonies or misdemeanors or
     both--are of the same or similar character, or are based on
     the same act or transaction, or are connected with or
     constitute parts of a common scheme or plan.

     (b) Joinder of Defendants. The indictment or information may
     charge 2 or more defendants if they are alleged to have
     participated in the same act or transaction, or in the same
     series of acts or transactions, constituting an offense or
                                                                    (continued...)
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States v. Wadena, 152 F.3d 831, 850 (8th Cir. 1998).         “When a defendant
moves for a severance, a district court must first determine whether
joinder is proper under Federal Rule of Civil Procedure 8.”               United
States v. Darden , 70 F.3d 1507, 1526 (8th Cir. 1995).
       Here, joinder of the defendants is proper under Rule 8(b).         In the
second superseding indictment, all defendants are charged in Count 1
with conspiracy to unlawfully possess pseudoephedrine between January
2003 and April 7, 2006, having reason to believe it would be used to
manufacture methamphetamine.      In Counts 2 and 3, defendants Canania and
Robinson are charged with unlawfully possessing pseudoephedrine on
December 18, 2003, and February 26, 2004, respectively, having reason
to believe it would be used to manufacture methamphetamine.            In Count
5,3 Canania and Robinson are charged with possessing a firearm on
December 18, 2003, in furtherance of Counts 1 and 2.              In Count 7, 4
defendant Robinson is charged with unlawfully possessing pseudoephedrine
on February 13, 2006, having reason to believe it would be used to
manufacture methamphetamine.       And in Count 9, Canania and Robinson are
charged with interfering with a witness on April 7, 2006, to cause the
witness to withhold testimony from an official proceeding.           (Doc. 21.)




(...continued)
     offenses. The defendants may be charged in one or more counts
     together or separately. All defendants need not be charged
     in each count.
Fed. R. Crim. P. 8.

       Federal Rule of Criminal Procedure 14(a) provides:

       (a) Relief. If the joinder of offenses or defendants in an
       indictment, an information, or a consolidation for trial
       appears to prejudice a defendant or the government, the court
       may order separate trials of counts, sever the defendants'
       trials, or provide any other relief that justice requires.

Fed. R. Crim. P. 14(a).

       3
           There is no count that is enumerated 4.
       4
      Count 6 is charged only against defendant Julia Friend who waived
her right to file pretrial motions on July 7, 2006.

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       The facts       and charges     alleged      against    each defendant in the
individual, respective counts are factually interrelated with those
alleged against all the other charged defendants.                   See id. at 1526-27
(“indictment      in    this   case    sufficiently       alleged     that     the   joined
defendants and counts were factually interrelated”). Therefore, joinder
of the defendants was proper under Rule 8(b).
       Whether or not to sever defendants properly joined under Rule 8(b)
is within the discretion of the trial judge.                  Wadena, 152 F.3d at 850.
“In    a ruling   on a motion         for    severance,    a court      must    weigh the
inconvenience and expense of separate trials against the prejudice
resulting from a joint trial of co-defendants.”                       United States v.
Pherigo, 327 F.3d 690, 693 (8th Cir. 2003).               Severance is only required
when   the   evidence     is such     that    a   jury    could not be expected to
compartmentalize it as it relates to the separate defendants.                        Id. at
693.    The prejudice against a defendant must be “severe or compelling.”
Id.    The court must consider the complexity of the case, if one or more
of the defendants        was acquitted, and the availability                 of adequate
instructions.      Id.
       It is not an abuse of discretion to deny a severance motion
       when not every joined defendant has participated in every
       offense charged, [United States v.] Delpit , 94 F.3d [1134,]
       1143-44 [(8th Cir. 1996)], when evidence which is admissible
       only against some defendants may be damaging to others, id.,
       or when there is varying strength in the evidence against
       each defendant.

United States v. Lee, 374 F.3d 637, 646 (8th Cir. 2004), cert. denied,
125 S. Ct. 2962 (2005).        There is a strong presumption against severing
properly joined defendants, especially in a conspiracy case.                         United
States v. Noe, 411 F.3d 878, 886 (8th Cir. 2005), cert. denied, 126 S.
Ct. 1403 (2006).
       Defendant Robinson argues that he will be unable to call defendant
Canania as a witness in a joint trial because of her privilege against
self-incrimination.        Defendant Robinson must show that it is likely his
co-defendant will testify at trial and that her testimony will be
exculpatory.      United States v. Mickelson, 378 F.3d 810, 818 (8th Cir.
2004); United States v. Delpit, 94 F.3d 1134, 1144 (8th Cir. 1996).
Defendant Robinson has not shown that he firmly intends to call Canania

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at a separate trial and that her testimony will be exculpatory.                       He
argues only that his defense “may be dependant” on the testimony of his
co-defendant, and makes conclusory statements that her testimony will
be exculpatory.        This is not enough; defendant Robinson has made “no
specific offer of proof” required to meet his burden.               United States v.
Voss, 787 F.2d 393, 401 (8th Cir. 1986) (no specific offer of proof that
co-defendant would testify on his behalf or what exculpatory evidence
would be offered).
       Defendant Robinson also argues that he and his co-defendant have
conflicting defenses.         There is a strong presumption against severing
properly joined defendants.            Noe, 411 F.3d at 886.             That certain
evidence would be admissible against the other defendant and not him,
or    that    defendants     have   conflicting   defenses,       does    not    justify
severance.       Lee, 374 F.3d at 646. “The mere fact that . . . one
defendant may try to save himself at the expense of another is not
sufficient     grounds to require separate trials.”                United States v.
Garrett, 961 F.2d 743, 746 (8th Cir. 1992).
       Further, both defendants are charged with conspiracy in Count 1.
“In general, persons charged in a conspiracy or jointly indicted on
similar evidence       from the same or related events              should be tried
together.”      United States v. Ruiz, 446 F.3d 762, 772 (8th Cir. 2006).
The   trial    judge   can    assess   the   nature   of   the   evidence       actually
introduced at trial, the efficacy of cautionary jury instructions to
avoid undue prejudice to any defendant, and all the circumstances of the
trial.       Therefore, defendant’s motion to sever himself for a trial
separate from defendant Canania should be denied.
       Joinder of the offenses in Counts 1, 2, 3, 5, and 7 are proper
under Rule 8(a), because, from the face of the indictment, they appear
either to be of the same or similar character or are part of a factually
interrelated series of actions.          United States v. Ruiz, 412 F.3d 871,
886 (8th Cir.), cert. denied, 126 S. Ct. 590 (2005).                     At this time,
there is no evidence suggesting that these counts should be severed
under Rule 14(a).       Defendant has not shown any real prejudice resulting
from a joint trial of all these counts.



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        However, nothing on the face of the indictment indicates that Count
9, other than the date of the alleged facts, is factually related to the
other counts.     It is not properly joined under Rule 8(a).          Therefore,
the undersigned will recommend that Count 9 be severed for a joint trial
of defendants Canania and Robinson separate from the trial of the other
counts.
        Even if Count 9 was properly joined under Rule 8(a), the count
should be severed under Rule 14(a), because evidence offered in support
of that count would greatly prejudice defendant.           Count 9 alleges that
defendants    Robinson   and   Canania   used   intimidation     or   threats   to
influence testimony.     (Doc. 127 at 5.)    The court may sever offenses if
the defendant will be severely prejudiced by the joinder of the counts.
Wadena, 152 F.3d at 850.       Evidence that defendant Robinson threatened
a witness would result in prejudice to defendant.           The nature of that
count is different from the other allegations.         The jury might not be
able to compartmentali ze the evidence of threats to a witness when
deciding the facts of the other counts.         See United States v. Noe, 411
F.3d 878, 886 (8th Cir. 2005).
        For these reasons,
        IT IS HEREBY RECOMMENDED that the motion of defendant Robinson for
severance (Doc. 146) be sustained as to Count 9 and in all other
respects it should be denied.
        The parties are advised they have until July 31, 2006, 5 to file
written objections to this Report and Recommendation.            The failure to
file objections may result in a waiver of the right to appeal issues of
fact.




                                     DAVID D. NOCE
                                     UNITED STATES MAGISTRATE JUDGE

Signed on July 19, 2006.



        5
      This is 11 calendar days from July 19, 2006.          See Federal Rule of
Criminal Procedure 45(a)(2).

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